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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  SANTHIA OLIVIER,

         Plaintiff,

  v.

  MSC CRUISES (USA), INC.,

        Defendant.
  _______________________________/

                                           COMPLAINT

        Plaintiff SANTHIA OLIVIER hereby sues Defendant MSC CRUISES (USA), INC. and

 alleges as follows:

        1.      This Court has jurisdiction because this dispute falls under the admiralty and

 maritime jurisdiction of this Court under 28 U.S.C. §1333(1).

        2.      At all times material, Plaintiff, a United States Citizen and a resident of the State of

 Florida, was an adult and a fare-paying passenger aboard the “MSC Divina.”

        3.      Defendant is a Florida corporation with its principal place of business in Broward

 County, Florida.

        4.      That on or about June 17, 2017, Plaintiff having purchased a ticket for a cruise,

 became a passenger aboard Defendant’s vessel, MSC Divina, and departed from the port of Miami.

        5.      Venue is proper because Defendant’s Ticket of Passage contains a venue section

 clause which mandates that Defendant be sued in Florida before the United States District Court

 for the Southern District of Florida.
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         6.      All conditions precedent to bringing this action have been performed and/or have

 been waived.

                                    GENERAL ALLEGATIONS

         7.      On or about June 18, 2017, Plaintiff was walking on the deck of the MSC Divina

 near the pool when she suddenly and without notice slipped on water, that had accumulated by the

 stairs, causing her to fall forward and land on her left knee.

         8.      The fall caused Plaintiff to sustain severe injuries throughout her body, and

 particularly to her left knee.

         9.      Plaintiff immediately reported the incident to an employee, agent, and/or servant of

 the Defendant, sought medical care on board the MSC Divina.

                                    COUNT I - NEGLIGENCE

         10.     Plaintiff reallges the allegations contained in paragraphs one (1) through nine (9)

 as if fully incorporated herein.

         11.     At all times material, Defendant owned and/or operated the MSC Divina.

         12.     That Defendant owed a duty of reasonable care to the Plaintiff, a passenger aboard

 the MSC Divina, which included but was not limited to: taking all reasonable precautions to insure

 the safety of its passengers and the Plaintiff; to undertake reasonable training and supervision of

 its employees; to ensure passengers and the Plaintiff were safe from unreasonable risks of harm;

 and to warn passengers and the Plaintiff of any unreasonable risks of harm aboard the vessel.

         13.     Defendant knew, or reasonably should have known, of the risk of harm which could

 be and was caused by the presence of water, a clear transparent substance, accumulating on the

 deck near the pool area, failing to inspect the area and warn those onboard the MSC Divina, and



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 should have expected that Plaintiff would not discover or be able to protect herself from the

 uncommon risk.

          14.      Defendant knew, or reasonably should have known, of the risk of harm which could

 be and was caused by the standing water and should have warned Plaintiff of the possible danger

 with a visible marker or eliminate the hazard.

          15.      On or about June 18, 2017, Defendant, by and through its agents, employees, and/or

 servants, breached its duty of reasonable care owed to the Plaintiff in one or more of the following

 ways:

                a. Failing to take all reasonable precautions to ensure the safety of its passengers;
                b. Failing to undertake reasonable training and supervision of its employees, and to
                   ensure passengers were safe from unreasonable risk of harm;
                c. Failing to warn passengers of any unreasonable risks of harm; and
                d. Failing to inspect the MSC Divina for spills and other debris.

          16.      Defendant’s negligent acts or omissions directly and proximately caused the

 Plaintiff to sustain severe injuries and damages.

          17.      That as a result of the negligence of Defendant, Plaintiff has suffered serious non-

 economic damage, including severe physical injury, pain and suffering, emotional and

 psychological distress, loss of enjoyment of life, reduced life expectancy, and other non-economic

 damages.

          18.      That as a result of the negligence of Defendant, Plaintiff has suffered serious

 economic damage, including past and future medical expenses, the exact amount to be proven at

 trial.

          WHEREFORE, Plaintiff, SANTHIA OLIVIER demands judgment for damages against

 the Defendant, MSC CRUISES (USA), INC. for all non-economic and economic damages

 incurred, or to be incurred, by the Plaintiff as a direct and proximate result of the negligent acts

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 and omissions of Defendant, plus interest, attorney fees, and costs, and for any and all other relief

 permitted under the circumstances.

                                DEMAND FOR TRIAL BY JURY

        Plaintiff demands a trial by jury on all issues so triable.



        DATED THIS 7th day of June, 2018.



                                                          Respectfully submitted,

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                                                By:       _/s/ Lee Friedland_______________
                                                          Lee Friedland, Esquire
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